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                   United States Court of Appeals
                                FIFTH CIRCUIT
                             OFFICE OF THE CLERK
LYLE W. CAYCE                                                    TEL. 504-310-7700
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                                                             NEW ORLEANS, LA 70130

                             June 27, 2023


Mr. Michael L. McConnell
Middle District of Louisiana, Baton Rouge
United States District Court
777 Florida Street
Room 139
Baton Rouge, LA 70801

      No. 22-30333    Robinson v. Ardoin
                      USDC No. 3:22-CV-211
                      USDC No. 3:22-CV-214


Dear Mr. McConnell,
We have received the Supreme Court order dismissing the writ of
certiorari before judgment as improvidently granted.

                                 Sincerely,
                                 LYLE W. CAYCE, Clerk




                                 By: _________________________
                                 Allison G. Lopez, Deputy Clerk
                                 504-310-7702
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